       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                                   DCO-092
                                         No. 25-8018

                    THOMPSON REUTERS CENTRE GMBH;
                        WEST PUBLISHING HOUSE

                                                v.

                           ROSS INTELLIGENCE INC,
                                   Petitioner

                            (D. Del. No. 1:20-cv-00613)

Present: PHIPPS, CHUNG, and SMITH, Circuit Judges

      1.    Petition for Permission to Appeal under 28 U.S.C. § 1292(b) filed by Ross
            Intelligence Inc.;

      2.    Addendum to Petition for Permission to Appeal;

      3.    Response by Respondents in Opposition to Petition for Permission to
            Appeal; and

      4.    Motion by Professor Brian L. Frye for Leave to file Amicus Brief in
            Support of Petition for Petition for Certification.

                                                               Respectfully,
                                                               Clerk/sb

_________________________________ORDER________________________________
The foregoing are considered. The petition for permission to appeal under 28 U.S.C.
§ 1292(b) is GRANTED. The motion for leave to file amicus brief is GRANTED.

                                                               By the Court,

                                                               s/ Cindy K. Chung
                                                               Circuit Judge
Dated: June 17, 2025
Sb/cc: All Counsel of Record



                               A True Copy:



                               Patricia S. Dodszuweit, Clerk
